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 5                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
 6

 7   UNITED STATES OF AMERICA,                          )       Case No. 2:13-cr-00054-KJD-CWH
                                                        )
 8                          Plaintiff,                  )       Findings and Order on Stipulation
                                                        )
 9        v.                                            )
                                                        )
10   JOSHUA CROFT,                                      )
                                                        )
11                         Defendant.                   )
                                                        )
12

13              Based on the pending Stipulation between the defense and the government, and good

14   cause appearing therefore, the Court hereby finds that:

15   1.         The parties anticipate that the revocation hearing will require the personal appearance of

16              numerous witnesses and will require at least a full day of testimony.

17   2.         The parties are in possession of additional discovery and require time to review and

18              adequately prepare for the hearing.

19   3.         For scheduling purposes, counsel for the government will be out of the jurisdiction from

20              November 9, 2021, through November 12, 2021. Counsel for the defendant will be out

21              of the jurisdiction from November 15, 2021, through November 16, 2021.

22   4.         The defendant is detained and does not object to the continuance.

23   5.         The parties agree to the continuance.

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 1   6.    Denial of this request could result in a miscarriage of justice, and the ends of justice

 2         served by granting this request outweigh the best interests of the public and the defendant

 3         in this matter moving forward on the presently scheduled date.

 4   7.    This is the parties’ second request to continue the date of the revocation hearing.

 5         THEREFORE, IT IS HEREBY ORDERED that the revocation hearing in the above-

 6   captioned matter currently scheduled for November 9, 2021 at 10:00 a.m. be vacated and

 7   continued to Tuesday, January 4, 2022, at the hour of 10:30 A.M. by videoconference.

 8         DATED this 2nd day of November, 2021.

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                                                HONORABLE KENT J. DAWSON
                                                United States Magistrate Judge
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